Case 3:17-cv-00736-GNS-RSE Document 1 Filed 12/06/17 Page 1 of 9 PageID #: 1




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                            'HIHQGDQW V 


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                                              ,QWURGXFWLRQ

       7KLV&RPSODLQWVHHNVDOODYDLODEOHOHJDODQGHTXLWDEOHUHOLHIDULVLQJIURPDQGUHODWLQJWRD

OLIHLQVXUDQFHSROLF\DGPLQLVWHUHGLVVXHGDQGLQVXUHGE\WKHDSSOLFDEOH'HIHQGDQWV7KH

KHDGLQJVLQWKLV&RPSODLQWDUHSURYLGHGVROHO\WRDVVLVWLQUHYLHZLQJWKHVWDWHPHQWVDQG

DOOHJDWLRQVFRQWDLQHGKHUHLQ7KHIDFWXDODOOHJDWLRQVFRQWDLQHGKHUHLQDUHQRWH[KDXVWLYHDQGDUH

LQWHQGHGWRSURYLGH'HIHQGDQW V ZLWKWKHUHTXLVLWHQRWLFHRI3ODLQWLII¶VFODLPV

                                          -XULVGLFWLRQ 9HQXH

             7KLV&RXUWKDVVXEMHFWPDWWHUMXULVGLFWLRQRYHUWKHFODLPVDVVHUWHGLQWKLVDFWLRQ

IRUPRQHWDU\DQGHTXLWDEOHUHOLHIXQGHU)HGHUDO4XHVWLRQ-XULVGLFWLRQSXUVXDQWWR86&

DQGWKH(PSOR\HH5HWLUHPHQW,QFRPH6HFXULW\$FWRI ³(5,6$´ 86&

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Complaint                                                                              3DJHRI
Case 3:17-cv-00736-GNS-RSE Document 1 Filed 12/06/17 Page 2 of 9 PageID #: 2




              9HQXHLVDSSURSULDWHLQWKH8QLWHG6WDWHV'LVWULFW&RXUWIRUWKH:HVWHUQ'LVWULFW

RI.HQWXFN\SXUVXDQWWR86& H  DQG86&%RWK'HIHQGDQWDQGWKH

SODQVSRQVRUFDQEHIRXQGLQWKLVGLVWULFW3ODLQWLIIUHVLGHVLQWKLVGLVWULFW

                                                 3DUWLHV

              3ODLQWLII5XWK0DH&KHOI ³0V&KHOI´ LVD.HQWXFN\UHVLGHQWWKHVXUYLYLQJ

VSRXVHDQGQDPHGEHQHILFLDU\IRUWKHLQVXUDQFHEHQHILWVDWLVVXHLQWKLVODZVXLW

              'HIHQGDQW3UXGHQWLDO,QVXUDQFH&RPSDQ\RI$PHULFD ³3UXGHQWLDO´ LVWKHLVVXHU

DQGLQVXUHURIWKHOLIHLQVXUDQFHSROLF\DWLVVXHLQWKLVODZVXLW3UXGHQWLDOLVDOLFHQVHGDQG

DGPLWWHGLQVXUHULQFRQGXFWLQJEXVLQHVVWKURXJKRXWWKH&RPPRQZHDOWKRI.HQWXFN\

3UXGHQWLDO¶VGHVLJQDWHGDJHQWIRUVHUYLFHRIOHJDOSURFHVVLV

                                &7&RUSRUDWLRQ6\VWHP
                                :HVW0DLQ6WUHHW6XLWH
                                )UDQNIRUW.<

              'HIHQGDQW:DO0DUW$VVRFLDWHV,QF ³:DOPDUW´ LVWKHHPSOR\HULQVXUHUZKHUH

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3UXGHQWLDOOLIHLQVXUDQFHSROLF\:DOPDUW¶VGHVLJQDWHGDJHQWIRUVHUYLFHRIOHJDOSURFHVVLV

                                &7&RUSRUDWLRQ6\VWHP
                                :HVW0DLQ6WUHHW6XLWH
                                )UDQNIRUW.<

              'HIHQGDQW$GPLQLVWUDWLYH&RPPLWWHHIRUWKH$VVRFLDWHV¶+HDOWKDQG:HOIDUH3ODQ

³$GPLQLVWUDWRU´ LVWKHSODQDGPLQLVWUDWRUDQGQDPHGILGXFLDU\IRUWKHUHOHYDQWLQVXUDQFH

SROLFLHV7KH$GPLQLVWUDWRUDOVRVHUYHGDVWKHDJHQWIRUWKH3UXGHQWLDOOLIHLQVXUDQFHSROLF\7KH

$GPLQLVWUDWRU¶VGHVLJQDWHGDJHQWIRUVHUYLFHRIOHJDOSURFHVVLV

                                &RUSRUDWLRQ7UXVW&RPSDQ\
                                2UDQJH6WUHHW&RUSRUDWLRQ7UXVW&HQWHU
                                :LOPLQJWRQ'(




 Complaint                                                                                3DJHRI
Case 3:17-cv-00736-GNS-RSE Document 1 Filed 12/06/17 Page 3 of 9 PageID #: 3




                                                 )DFWV

                (OPHU/&KHOI ³0U&KHOI´ GLHGIURPQDWXUDOFDXVHVRQ$SULO

                3ULRUWRKLVGHDWK0U&KHOIKDGEHHQDIXOOWLPHKRXUO\DVVRFLDWHHPSOR\HGE\

:DO0DUW$VVRFLDWHV,QF ³:DOPDUW´ DVLQGLFDWHGRQKLVSD\VWXEV

                $VD:DOPDUWHPSOR\HH0U&KHOIZDVHOLJLEOHWRSXUFKDVHGLVDELOLW\DQGOLIH

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               0U&KHOIHOHFWHGWRSXUFKDVHORQJWHUPGLVDELOLW\LQVXUDQFHWKDWZDVIXOO\LQVXUHG

E\/LEHUW\/LIH$VVXUDQFH&RPSDQ\RI%RVWRQ ³/LEHUW\´ ZLWKWKHUHTXLVLWHSUHPLXPGHGXFWHG

IURPKLVELZHHNO\SD\FKHFN

               0U&KHOIDOVRHOHFWHGWRSXUFKDVHLQRSWLRQDODVVRFLDWHWHUPOLIH

LQVXUDQFHWKDWZDVIXOO\LQVXUHGE\3UXGHQWLDOZLWKWKHUHTXLVLWHSUHPLXPGHGXFWHGIURPKLV

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               7KH3UXGHQWLDOOLIHLQVXUDQFHSROLF\ZDVLVVXHGLQ$UNDQVDV7KHOLIHLQVXUDQFH

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ZDVPRVWUHFHQWO\UHQHZHGDVRI-DQXDU\

               :KLOHLQVXUHGXQGHUWKHUHVSHFWLYHGLVDELOLW\DQGOLIHLQVXUDQFH0U&KHOI

UHTXHVWHGDOHDYHRIDEVHQFHIURP:DOPDUWFRPPHQFLQJZLWKKLVODVWGD\ZRUNHG2FWREHU

DQGDSSOLHGIRUVKRUWWHUPGLVDELOLW\EHQHILWV

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               :KHQ0U&KHOI¶VVKRUWWHUPGLVDELOLW\LQVXUDQFHEHQHILWVUHDFKHGWKHLUPD[LPXP




Complaint                                                                                3DJHRI
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GXUDWLRQLQWKHVSULQJRI0U&KHOIDSSOLHGIRUORQJWHUPGLVDELOLW\LQVXUDQFHEHQHILWVZLWK

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PRQWKO\EHQHILWVSDLGIURPWKHVSULQJRIWKURXJKWKHGDWHRIKLVGHDWKLQ$SULO

            )RUWKHGXUDWLRQRIKLVOHDYHXQGHUWKH3ODQWHUPVDQGFRQGLWLRQV0U&KHOIZDV

HOLJLEOHWRFRQWLQXHKLVHOHFWHGLQVXUDQFHEHQHILWV7KHLQVXUDQFHSUHPLXPVZHUHLQLWLDOO\

GHGXFWHGIURPKLVVKRUWWHUPGLVDELOLW\EHQHILWVDXWRPDWLFDOO\7KHUHDIWHUZKHQKHEHJDQWR

UHFHLYHORQJWHUPGLVDELOLW\EHQHILWVWKHSUHPLXPVZHUHSDLGGLUHFWO\E\0U&KHOIRUGHGXFWHG

IURPDQ\IXUWKHUIXQGVSDLGRUSD\DEOHWRKLPE\:DOPDUW

            'XULQJWKHFRXUVHRIKLVGLVDELOLW\OHDYHDQGFRQWLQXLQJWKURXJKWKHGDWHRIKLV

GHDWK0U&KHOIUHFHLYHGIXQGVIURP:DOPDUWDVZHOODVKDGVLJQLILFDQWDFFUXHGSDLGWLPHRII

SD\DEOHWRKLPDWDQ\WLPH)ROORZLQJKLVGHDWK:DOPDUWSURYLGHGDSD\VWXEIRUWKHSHULRG

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            3XUVXDQWWRWKHWHUPVRIWKHVKRUWWHUPGLVDELOLW\LQVXUDQFHSROLF\0U&KHOIZDV

notUHTXLUHGWRSD\DQ\LQVXUDQFHSUHPLXPVIRUWKHGXUDWLRQRIKLVFODLP KLVGLVDELOLW\ GXULQJ

ZKLFKKHZDVUHFHLYLQJVKRUWWHUPGLVDELOLW\EHQHILWV

            3XUVXDQWWRWKHWHUPVRIWKHORQJWHUPGLVDELOLW\LQVXUDQFHSROLF\0U&KHOIZDV

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DQGKLVORQJWHUPGLVDELOLW\EHQHILWV

            0U&KHOISDLGWKHUHTXLUHGSUHPLXPVQHFHVVDU\WRPDLQWDLQKLVOLIHLQVXUDQFH




Complaint                                                                             3DJHRI
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FRYHUDJHIRUWKHGXUDWLRQRIKLVGLVDELOLW\OHDYHDQGXQWLOKLVGHDWK

             0U&KHOIDOVRSDLGWKHUHTXLUHGSUHPLXPVQHFHVVDU\WRPDLQWDLQKLVVKRUWWHUP

GLVDELOLW\LQVXUDQFHIRUWKHLQLWLDOZHHN HOLPLQDWLRQSHULRG EHIRUHEHQHILWVFRPPHQFHGDQGDIWHU

ZKLFKQRIXUWKHULQVXUDQFHSUHPLXPVZHUHUHTXLUHG

             0U&KHOIDOVRSDLGWKHUHTXLUHGSUHPLXPVQHFHVVDU\WRPDLQWDLQKLVORQJWHUP

GLVDELOLW\LQVXUDQFHOHDGLQJXSWRKLVGDWHRIGLVDELOLW\$IWHUKLVGDWHRIGLVDELOLW\QRIXUWKHU

SUHPLXPVZHUHUHTXLUHGIRUWKHGXUDWLRQRIKLVORQJWHUPGLVDELOLW\LQVXUDQFHFODLP

             0U&KHOIDOVRKDGVXIILFLHQWSDLGWLPHRIIDFFXPXODWHGZLWK:DOPDUWWRFRYHU

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             )ROORZLQJ0U&KHOI¶VGHDWK0V&KHOIILOHGDFODLPIRUDOOLQVXUDQFHEHQHILWV

SD\DEOHXQGHUWKH3UXGHQWLDOOLIHLQVXUDQFHSROLF\3XUVXDQWWRWKHWHUPVRIWKHOLIHLQVXUDQFH

SROLF\WRILOHWKHFODLP0V&KHOIZDVGLUHFWHGWRFRQWDFW:DOPDUWIRUFODLPIRUPVZKLFKVKH

GLG0V&KHOIFRPSOHWHGWKHUHTXLUHGIRUPV

             :KLOH3UXGHQWLDODSSURYHGKHUFODLPIRUEDVLFOLIHLQVXUDQFHEHQHILWVLWZDVVLOHQW

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&KHOI¶VJUDQGVRQFRQWDFWHGLWE\WHOHSKRQH3UXGHQWLDO¶VFODLPUHSUHVHQWDWLYHUHIHUUHGKHUWR

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             :KLOHQRWUHTXLUHGWRGRVR0V&KHOIDOVRVXEPLWWHGDFODLPZLWKWKH

$GPLQLVWUDWRUFRQFHUQLQJ0U&KHOI¶VRSWLRQDODVVRFLDWHWHUPOLIHLQVXUDQFHFRYHUDJHDQG

SUHPLXPSD\PHQWV7KH$GPLQLVWUDWRUGHQLHGERWKKHUFODLPDQGKHUYROXQWDU\DSSHDO




 Complaint                                                                                 3DJHRI
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            $WWKHWLPHRIKLVGHDWK0U&KHOIZDVDFRYHUHGSHUVRQXQGHUWKH3UXGHQWLDOOLIH

LQVXUDQFHSROLF\+RZHYHU3UXGHQWLDO:DOPDUWDQGWKH3ODQWUHDWHGKLVFRYHUDJHDVKDYLQJ

WHUPLQDWHGSULRUWR$SULO

            %RWKWKH3UXGHQWLDOOLIHLQVXUDQFHSROLF\DQGWKH:DOPDUWVXPPDU\SODQ

GHVFULSWLRQSURYLGHDSDUWLFLSDQWLQFOXGLQJ0U&KHOIZLWKWKHULJKWWRFRQYHUWWKHLUOLIH

LQVXUDQFHFRYHUDJHWRDQLQGLYLGXDOSROLF\7KHFRQYHUVLRQWRDQLQGLYLGXDOOLIHLQVXUDQFHSROLF\

LVDXWRPDWLFLIWKHLQVXUHGGLHVZLWKLQGD\VRIWKHGDWHWKHOLIHLQVXUDQFHFRYHUDJHWHUPLQDWHG

0U&KHOIGLHGZLWKLQWKHUHTXLVLWHGD\ZLQGRZ

            3ULRUWR0U&KHOI¶VGHDWKQHLWKHU3UXGHQWLDO:DOPDUWQRUWKH3ODQHYHU

LQIRUPHG0U&KHOILQZULWLQJ

                       D    WKDWKLVOLIHLQVXUDQFHFRYHUDJHKDGWHUPLQDWHG

                       E    WKDWKHKDGDULJKWWRFRQYHUWKLVOLIHLQVXUDQFHWRDQ
                             LQGLYLGXDOLQVXUDQFHSROLF\

                       F    WKDWKLVSUHPLXPVKDGQRWEHHQDVVHVVHGFRUUHFWO\
                             DQG

                       G    WKDWDQ\RXWVWDQGLQJSUHPLXPIRUKLVOLIHLQVXUDQFH
                             FRYHUDJHFRXOGEHSDLGZLWKKLVXQSDLGWLPHRII
                             IXQGV


                                               &ODLPV

       $     %UHDFKRI&RQWUDFW3UXGHQWLDO

            7KHOLIHLQVXUDQFHSROLF\LVDZULWWHQFRQWUDFWZLWK3UXGHQWLDOSURYLGLQJ

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&KHOIIRUWKHEHQHILWRI0V&KHOI±KLVGHVLJQDWHGDQGLQWHQGHGEHQHILFLDU\ LQH[FKDQJHIRU0U

&KHOI¶VFRQVLGHUDWLRQRISUHPLXPSD\PHQWV

            3UXGHQWLDOEUHDFKHGWKHWHUPVRIWKHFRQWUDFW%\ZD\RIH[DPSOHDQGZLWKRXW



Complaint                                                                                3DJHRI
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OLPLWDWLRQ3UXGHQWLDO

                       D    IDLOHGWRWLPHO\RUSURSHUO\UHVSRQGWR0V&KHOI¶V
                             FODLPIRUWKHRSWLRQDODVVRFLDWHOLIHFRYHUDJHFODLP

                       E    IDLOHGWRSURYLGHQRWLFHRIWKHDGYHUVHWHUPLQDWLRQRI
                             0U&KHOI¶VRSWLRQDODVVRFLDWHOLIHFRYHUDJHFODLP

                       F    IDLOHGWRSURYLGHQRWLFHRI0U&KHOI¶VULJKWWRFRQYHUW
                             KLVRSWLRQDODVVRFLDWHOLIHFRYHUDJHWRDQLQGLYLGXDO
                             SROLF\DQG

                       G    IDLOHGWRSD\WKHRSWLRQDODVVRFLDWHOLIH
                             EHQHILW

            3UXGHQWLDO¶VFRQWUDFWXDOEUHDFKGDPDJHG0V&KHOIQRWRQO\LQWKHORVVRIWKH

EHQHILWVEXWDOVRLQWKHORVVRIHDUQLQJVRQWKHXQSDLGEHQHILWVWKHORVVRIRSSRUWXQLW\DQG

DWWRUQH\V¶IHHVDQGFRVWVLQFXUUHG

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0V&KHOIWRHQIRUFHWKHFRQWUDFWXDOWHUPVRIWKHOLIHLQVXUDQFHSROLF\WRREWDLQSDVWEHQHILWVWR

REWDLQLQWHUHVWWRREWDLQGHFODUDWRU\UHOLHIDQGWRREWDLQRWKHUDSSURSULDWHHTXLWDEOHUHOLHI

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            'HIHQGDQWVLQGLYLGXDOO\DQGFROOHFWLYHO\ZHUHDFWLQJDVILGXFLDULHVZLWKUHVSHFW

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                       F    IDLOHGWRFRUUHFWO\DGYLVH0U&KHOIFRQFHUQLQJWKH
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                       G    IDLOHGWRDSSO\0U&KHOI¶VXQSDLGWLPHRIIWRDQ\SDVW
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                       H    IDLOHGWRDGYLVH0U&KHOIWKDWKHFRXOGDSSO\KLV
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                              FRQFHUQLQJ0U&KHOI¶VDVVRFLDWHWHUPOLIHLQVXUDQFH
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                       J   IDLOHGWRFRQYH\FRPSOHWHDQGDFFXUDWHLQIRUPDWLRQ
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